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 8                         UNITED STATES DISTRICT COURT

 9                 FOR THE NORTHERN DISTRICT OF CALIFORNIA

10                                 OAKLAND DIVISION

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12   WHATSAPP LLC, and META PLATFORMS        Case No. 4:19-cv-07123-PJH
     INC.,
13                                           [PROPOSED] ORDER REGARDING
                     Plaintiffs,             ADMINISTRATIVE MOTION TO
14                                           CONSIDER WHETHER ANOTHER
          v.                                 PARTY’S MATERIAL SHOULD BE
15                                           SEALED
     NSO GROUP TECHNOLOGIES LIMITED
16   and Q CYBER TECHNOLOGIES LIMITED,

17                   Defendants.

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28                                                      [PROPOSED] ORDER REGARDING
                                                        ADMIN MOT. TO SEAL ANOTHER
                                                                   PARTY’S MATERIAL
                                                                     4:19-CV-07123-PJH
      Case 4:19-cv-07123-PJH Document 209-2 Filed 08/25/23 Page 2 of 2



 1          Upon consideration of Plaintiffs’ Administrative Motion to Consider Whether Another

 2   Party’s Material Should Be Sealed, the papers submitted in support and the response thereto, and

 3   good cause appearing, the motion is GRANTED. The portions of the parties’ Joint Letter, as

 4   identified in the unredacted version submitted with the administrative motion, are to be sealed.

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 6   IT IS SO ORDERED.

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 8   Dated: _________________
                                                               THE HONORABLE JUDGE PHYLLIS
 9                                                             J. HAMILTON
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28                                                                     [PROPOSED] ORDER REGARDING
                                                                       ADMIN MOT. TO SEAL ANOTHER
                                                      2
                                                                                  PARTY’S MATERIAL
                                                                                    4:19-CV-07123-PJH
